                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

  UNITED STATES OF AMERICA                            )
                                                      )
  v.                                                  )               NO. 3:18-CR-167-TRM
                                                      )
  CHRISTINA ERIN MYERS                                )

                       MOTION FOR DOWNWARD DEPARTURE
                 AND/OR VARIANCE AND SENTENCING MEMORANDUM


         Comes the Accused, Christina Erin Myers, by and through counsel, and submits this Motion for

  Downward Departure and/or Variance and Sentencing Memorandum for this Honorable Court’s

  consideration in Ms. Myer’s sentencing hearing. In support of which the Defendant would show as

  follows:

                                       I. FACTUAL ALLEGATIONS

         Christina Erin Myers was charged on October 16, 2018 in a six-count indictment. Counts one

  through four charged Mrs. Myers with Wire Fraud in violation of 18 U.S.C. §1343, Count five charged

  Mrs. Myers with money laundering in violation of 18 U.S.C. §1957, and Count six charged Mrs. Myers

  with money laundering in violation of 18 U.S.C. §1956. On November 26, 2019, Mrs. Myers pled guilty

  to Count one and Count Six of the Indictment. Since that time, Mrs. Myers has remained on pretrial release
  without issue pending sentencing.

                                II. SENTENCING GUIDELINE ANALYSIS

         The Pre-Sentence Investigation Report (PSR) was completed on March 2, 2020. The PSR indicates

  a base offense level of 7 for Count 1, pursuant to §2B1.1(a)(1). The PSR also made upward adjustments

  as negotiated and included within the plea agreement of twelve points pursuant to §2B1.1(b)(1)(G), four

  points for financial hardship pursuant to §2B1.1(b)(2)(B), and two points for vulnerable victims pursuant

  to §3A1.1(b)(1). The PSR also included an additional two points for abuse of a position of private trust

  pursuant to §3B1.3. This resulted in a total offense level for Count One of 27. As to Count Six, the PSR
  indicates a base offense level of 27 pursuant to U.S.S.G. §2S1.1(a)(1) and §2B1.1(a)(1). The PSR applied



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  an upward adjustment of two points pursuant to U.S.S.G. §2S1.1(b)(2)(B), resulting in a total offense level

  of 29 for Count Six. Following the 3-point reduction for Acceptance of Responsibility pursuant to §3E1.1

  (a) and (b), the PSR indicates an Adjusted total offense level of 26 for Mrs. Myers. Mrs. Myers has no

  prior criminal history, placing her in criminal history category I. Accordingly, Ms. Myer’s advisory

  guideline range set out within the PSR is 63-78 months.

         The Defendant has objected to the upward adjustment for abuse of a position of private trust

  pursuant to U.S.S.G. §3B1.3, and accordingly would assert that the appropriate offense level is 24,

  resulting in an advisory guideline range of 51-63 months.

         It is also significant to note that Mrs. Myers entered into a plea agreement pursuant to Federal Rule

  of Criminal Procedure 11(c)(1)(B) following extensive and lengthy plea negotiations. While not binding

  on the Court, as a part of the negotiation and plea in this case, the parties stipulated to what sections of the

  guidelines and particularly which enhancements would apply, including a specific loss amount, the

  existence of financial hardship for five or more victims, and that the defendant should have known the

  victims were vulnerable. Parties did not include an enhancement for abuse of private trust pursuant to

  §3B1.3 which was applied within the PSR. The Defendant has objected to the enhancement, however Mrs.

  Myers would ask the Court to honor the spirit of the agreement as negotiated by parties and entered and

  apply a total offense level of 24, resulting in an advisory sentencing guideline range of 51 to 63 months.

  Additionally, Mrs. Myers would ask that this Honorable Court further vary below this advisory range in

  establishing a sentence that is sufficient but not greater than necessary in this case.

                                        III. PERSONAL BACKGROUND

         Christina Myers is one of three daughters born to Anita and Kenneth Wilmouth. Mrs. Myers was

  born in Tacoma, Washington, however, has lived in East Tennessee almost her entire life. Mrs. Myers

  graduated from Lenoir City High School in 2000. Mrs. Myers majored in Journalism at the University of

  Tennessee where she obtained her Bachelor of Science degree. Mrs. Myers is 38 years old and has been

  married to her husband Jason Myers since 2003. They have three daughters who are 11, 14, and 16 years
  old. Mrs. Myers is actively involved in her community and church through individual efforts and as a

  parent of three active daughters. She does not have a history of alcohol or substance abuse. As many

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  members of her community will attest to Mrs. Myers is known in the community to offer her time,

  presence, and assistance as a fellow parent and caregiver. Prior to the instant charges, Mrs. Myers has

  never been charged or convicted of any criminal offense.

                                   IV. CHRISTINA MYER’S CHARACTER

         The following individuals have offered letters in support of Christina Erin Myers, which

  are attached as Collective Exhibit A to this memorandum:

                 a.   Rev. Thomas Lee, Pastor;
                 b.   Brooke Horton, Teacher and friend;
                 c.   Emily R. Tenry, Childhood friend and fellow parent;
                 d.   Sandra M. Towns, Teacher (retired) and fellow volunteer;
                 e.   Rev. Dr. Richard DeMerchant, Senior Adult and Pastoral Care Minister;
                 f.   Robert Shane Wells, Teacher, Coach and family friend;
                 g.   Kala Poole, Childhood friend and fellow parent;
                 h.   Whitney Needham, Registered Nurse and fellow parent;
                 i.   Melissa L. Roberts, Air Force (retired), longtime friend and fellow volunteer;
                 j.   Jennifer Colvin, Friend and fellow parent;
                 k.   Courtney T. Kline, Owner/Operator of Legacy AllStars Cheer and friend;
                 l.   Rev. Andy Minton, Middle School Student Minister;
                 m.   Anita Wilmoth, Social Service Director (retired); and Mother;
                 n.   Ken Wilmoth, Air Force (retired,) Deacon and Father;
                 o.   Erica E. Oakes, Registered Nurse and Sister;
                 p.   Amanda E. Flenniken, Accountant and Sister; and,
                 q.   Jason Myers, Education Administration and Husband.

         These individuals with personal knowledge of Christina Erin Myers paint a picture of a

  devoted mother, daughter, and sister as well as a longtime community volunteer, a vigorously

  involved parent of three active girls, and an individual that epitomizes the criteria for a significant

  downward departure.

         The testimonial letters from the above individuals creates a record that Mrs. Myers’

  character and past behavior is such that the instant offense conduct is a vast deviation from an

  otherwise law abiding, compassionate, and generous life. The following excerpts highlight just a

  few anecdotes regarding Mrs. Myers from those who know her best:



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     a. Rev. Thomas Lee –
                     “…, I have known Christy for over 20 years and served as her youth pastor
                     when she was in middle and high school and therefore have had extensive
                     knowledge of her character throughout life. As such, I am pleased to write
                     a letter of recommendation on her behalf.

                       Christy has always demonstrated great character and love for others. She
                       was a leader in the youth group and was always concerned about the welfare
                       of others. Even as a teenager many people would joke that, she was like a
                       mother to many of the other students because she was always looking out
                       for them and helping them. Christy shared her love of Christ through
                       mission trips, and through her voice singing. I continued to watch Christy
                       demonstrate great ethics and character as she served and lifted others up as
                       a college student. As she became a wife and mother her character, honor
                       and love for others has been more visible than ever. She has served in much
                       volunteer positions associated with her children.

                       I have apprised of the charges against Christy and I know in my heart that
                       Christy is a Godly woman of exceptional moral character and high integrity.
                       God can use all things to teach, admonish and strengthen his children. I
                       know Christy has learned a valuable lesson and would never be involved
                       with anything like this again. …”

     b. Brooke Horton –
                     “ During the time I have known Christie, I have entrusted her to care for my
                     daughter on trips and countless spend the nights at her home. She is an
                     excellent mother and person. She is responsible and I trust her implicitly
                     with the care of my child. I have also seen Christie in another role, as a
                     parent to a student in my classroom. She played a very active role in her
                     daughter’s education, making sure her homework was completed, signing
                     up for things our classroom needed, helping with anything I asked her to do
                     in the classroom, and working with the school/parent organization.

                       Christie is the type of person that you want to be a part of your life. She is
                       loyal and kind, always wanting to help out when you need her, and a
                       genuinely good and honest person. It was without hesitation, that I wrote
                       this letter of character for her. It was my absolute pleasure to tell others
                       about her character.”

     c. Emily R. Tenry –
                     “I first met Christina when her parents moved to my family's church,
                     Calvary Baptist Church, in Lenoir City, TN. I was 11; Christina was 12…
                     During these early years, Christina and I were good friends, and I would
                     often spend the night with her at her parent's house…



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                        Fast forward to many years later, Christina's daughter and my daughter
                        became best friends. The girls have spent numerous nights together, either
                        at our house or at Christina's house… When my daughter stays at Christina's
                        house, I never worry about her, and I always know she is being well taken
                        care of…

                        Aside from being friends, the girls attended the same school, Lenoir City
                        Middle School, where they both cheered and played volleyball
                        together. During the busy seasons, Christina and I would communicate
                        nearly every day to collaborate the plans for the week. We would plan out
                        who was picking up the girls from school, who was taking the girls to
                        practice and/or games, and who was bringing the girls a snack before
                        practice/games (as most of the time we would prepare something from
                        home, like a PBJ sandwich). Christina has always been very pleasant to
                        coordinate with, always very organized, and always dependable. I have
                        never had to worry about Christina not picking up the girls or doing
                        something for them if she said she was going to. Christina has always been
                        very active in her daughters' lives and is always in the stands cheering them
                        on, whether it is cheer, volleyball, soccer or basketball. Aside from planning
                        with me, I know she is always making plans, whether that be with
                        her husband, her parents, or another mom, for her other two daughters’ busy
                        schedules. I can attest to her strength of character and devotion to her
                        daughters.

                        I feel the need to write this letter to show the court that I think highly of
                        Christina. Christina has always been there for me and is always willing to
                        lend a helping hand. She is active in the community, church, and the school
                        system. I am aware of the current charges Christina is facing, and I will
                        continue to be thankful for our friendship.”

     d. Sandra M. Towns –
                     “Christie has always shown unconditional love towards her family.
                     Growing up she was a "mother hen" to her two younger sisters, as she was
                     their biggest supporter and cheerleader. I have watched her transcend this
                     to a higher degree as a mother to her three precious daughters, ages 15, 13,
                     and 10. She has a close, successful relationship with her daughters, and I
                     can assure you that these girls need their mother in their lives on a daily
                     basis. As a veteran educator, I can attest to the fact that the mother is an
                     integral component in a child's life. Her children excel academically,
                     socially, morally, and athletically. Parental influence determines these
                     things early in a child's life, so much credit goes to Christie and her husband.
                     I don't want to see anything change the childhood that her children have.
                     Growing up is hard enough in this day and time without an event that breaks
                     the spirit and hope and safety for a child. Research proves that Adverse
                     Childhood Experiences (ACEs) and toxic stress have been linked to many



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                        common health and behavioral issues later in life. These girls deserve and
                        need the presence of their mother in their lives!

                        Besides being an A+ mom, Christie has always been willing to volunteer
                        and assist her community with projects and events. Her positivity and
                        cheerful-giving heart are always a bright spot at church, school, and
                        community events. One yearly event that Christie has always assisted me
                        with is a track meet in memory of my late husband. We are going on year
                        30 of this event, and I can assure you it is the support of people like Christie
                        and her family that has allowed this tradition to continue.”

     e. Rev. Dr. Richard DeMerchant –
                      “This incident is unfortunate. I have only known Christina to be a kind,
                      compassionate public servant with strong conviction regarding her family.”

     f. Kala Poole –
                        “Christie and I first met at Calvary Baptist Church in Lenoir City... I’d say
                        we were in 6th or 7th grade… As we got older, and our lives became
                        different, we always stayed close. Christie was busy raising a family, while
                        I was off living happily and had not gotten there yet. I would go over to her
                        house and sit and admire her being a mom. She is a great mother of three
                        girls that are all kind, smart, and caring. She’s raised them with the same
                        heart and love we were raised with. She has taught them about God, love,
                        and staying true to who they are. Even through all of this, when many would
                        just run and hide, she has stayed by their side. She has been at every game,
                        every event, because she knows that no matter what comes of any of this,
                        those girls are her world.”



         The excerpts above illustrate that Mrs. Myers is known to give her time and attention to

  her community and solidify her reputation as a caring and devoted mother. The following excerpts

  from family members reiterate this theme.

         a. Anita Wilmoth –
                      “ …It is my prayer, that this quite lengthy synopsis of Christie' s life,
                      will help to show her true nature. A person who gives, never expecting
                      anything in return. A pleaser, always wanting to make life easier and
                      happy for others, even if it means self-sacrifice. A daughter, who is
                      loved and cherished. A sister who is a role model and example of
                      exemplary motherhood. A mother and wife who'd do anything to
                      ensure the happiness and contentment of her family. An amazing,
                      thoughtful, reliable, selfless person, with an outstanding moral and
                      ethical character, charm and grace, who shows kindness and


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                       compassion to all she encounters. A person who has made a one-time
                       mistake, acted outside of her normal character, but requests the mercy
                       like that which our Heavenly Father extends to us all every single day
                       of our lives. She has been an anchor, an influence, and an example for
                       our entire family in one form or another. We would all be at a loss
                       without her. Her family, especially her children would suffer greatly.
                       It is my greatest request, and my uttermost prayer, that you will find
                       favor with Christie and allow her to rise above this and prove herself
                       to be the daughter, person, woman, wife and mother that we all know
                       and love, as described above, by her very actions and deeds in days
                       ahead. I beg that she be given the chance to show what her true
                       character is and will continue to be for the rest of her life, with the
                       mercy shown from this request. Please allow her not to be separated
                       from our family or her children through imprisonment, but grant her
                       some sort of probationary lifestyle sentencing that will prove to the
                       court that mistakes can be forgiven, and she can begin to rebuild her life
                       with the honesty, integrity and character she truly has. I truly feel that
                       she will never commit or be charged with another offense in the
                       future.”

        b. Erica E. Oakes –
                      “My three nieces adore their mother and have such an amazing bond with
                      her. These girls look forward to so many precious moments in their daily
                      lives with their mother. [redacted] the oldest is anxiously awaiting her first
                      prom that her mother will get her ready for, the middle [redacted] loves
                      looking up to the bleachers to see her mother’s face as she carries on the
                      legacy of their favorite sport; volleyball, and the baby [redacted], who is
                      still working on her separation anxiety, is proud to celebrate little triumphs
                      with her mother like staying the night away from home once in a blue moon.

                       Christie has also made several sacrifices for me in particular that I am so
                       grateful for. There was a time in my life when I did not have a place to call
                       home and Christie without hesitation offered for me to live under her roof
                       with her family. During this time, I was able to first hand see the mother
                       and wife she is and it made me long for my own. Fast forward to present
                       day, I am now married and recently had a daughter of my own, who is not
                       quite 3 months old. Christie has been there every step of the way and even
                       took part in the actual birth of my daughter. She has since offered her time
                       to come sit with my daughter, while I have been working and unable to pay
                       for childcare.”

        c. Amanda E. Flenniken –
                    “… Christie was always the second mother to our youngest sister. I was
                    quick to move out once I graduated high school and move to San Diego for
                    college, but not Christie. She stayed and went to UT so she could help my
                    parents with my little sister, getting her to and from school and sporting


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                     events. Christie has always gone over and beyond for her family, she has
                     always exceled in anything she put her mind to. She has always been a role
                     model for me, and I admire how she always sees the good in people when
                     others can’t. Christie sacrifices so much for her family and she is the most
                     selfless person I know. I have 2 daughters myself and Christie knows
                     during tax season how swamped I am, and with my husband being a golf
                     pro he travels a lot, so Christie is always there to pick up the pieces I can’t
                     juggle during tax time. My toddler used to call her aunt mommy because
                     she is literally like a second mother. I was diagnosed with cancer in 2018
                     and just finished my last round of treatment in Dec 2019. Christie was the
                     one who not one time cried but encouraged me to stay strong. When I felt
                     sorry for myself she came and lifted me up, watched my girls for me, made
                     me laugh and made me see this was a minor speed bump but it was all in
                     God’s hands…

                     I pray you see the actual person she is, the loving caring, Christian woman
                     Christie is. I know her girls would be lost without her, my family would be
                     lost without her and I know her husband would be devastated without her.
                     I pray you realize this was her minor speed bump and I encourage you to
                     see the beautiful soul she is.”

        d. Jason Myers –
                     “My name is Jason Myers, and I work in education. I am writing on
                     behalf of Christina Myers. Christina is my wife, and we have been
                     married for nearly 17 years. I have known Christina since we were
                     children and attended high school together. We have three beautiful
                     daughters together who range from 11 to 16 years of age.

                     I have never been more shocked in my life than I was the moment I learned
                     of the charges levied against Christina. It did not seem real, and in my
                     measure completely out of character for the woman I have known for so
                     long. I have never known her to take advantage of others nor have I ever
                     witnessed her be anything but generous when working with others. I can
                     think of countless examples of her demonstrating kindness to others and
                     myself . Christina is an amazing mother to our daughters. They are her
                     entire world, and she is theirs. I struggle to find the words to describe
                     their relationship and the impact this will have on them. As a
                     professional who works with children, I know firsthand the trauma
                     children face if they lose a parent for any reason. I can only imagine it will
                     be compounded for our girls. Christina provides them with stability. She
                     is the parent who takes care of transportation, planning, shopping etc.
                     Christina has always sacrificed to the wellbeing of our family, and I
                     cannot imagine where we would be without her.

                     Despite the charges Christina is facing, I believe she is a kind and generous
                     person who ultimately seeks to ensure the happiness of others. I know she


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                         faces charges that suggest otherwise, but I firmly believe she is a good
                         person and, more importantly, an amazing mother.”


          These excerpts from Mrs. Myers’ family’s letters also paint a picture of a nurturing

  daughter, sister, and mother who has earned the love and respect of her family through her kind-

  hearted, loving, and generous disposition. Her family’s love for her and her love for her are

  steadfast.


                               V. SENTENCING FACTORS TO CONSIDER


      There are a litany of factors that must be considered in determining the appropriate sentence

  for Mrs. Myers. First, the court must examine the appropriate guidelines and calculate the

  applicable range of punishment for the offense. As the Court is well aware, the United States

  Supreme Court deemed the Guidelines “effectively advisory” in United States v. Booker, after

  finding the mandatory nature of the Guidelines as previously imposed was a violation of the Sixth

  Amendment. United States v. Booker, 543 U.S. 220 (2005). The Court held that any sentence

  imposed must be viewed in light of its overall “reasonableness” as applied to the defendant in

  question. Id. While the courts are still required to calculate and consider the ranges of punishment

  as determined by the guidelines, they court may also “tailor the sentence in light of other statutory

  concerns” including consideration of the factors set out at 18 U.S.C. § 3553(a) in addition to bases

  for departures that are set out within the guidelines. Id. In United States v. McBride, the Sixth

  Circuit explained that “while the Guidelines remain important, they are now just one of the

  numerous factors that a district court must consider when sentencing a defendant.” 434 F.3d 470,

  475 (6th Cir. 2006).

      Following the calculation of the appropriate guideline level and ranges, the court should look

  to any potential grounds for downward departure set out within the guidelines that may be

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  applicable in a given case. Any factor or combination of factors may support downward departure,

  if it is not prohibited by the Guidelines and takes the case outside the “heartland of cases”

  contemplated within the guidelines. United States v. Coleman, 188 F.3d 354, 361 (6th Cir.1999)

  (en banc).

     Next, the Court must examine the applicability of any grounds for an additional variance from

  the calculated guideline range in the instant case. Such grounds include any of the factors set out

  within 18 U.S.C. § 3553(a) however are not limited to those. After the Booker decision, “many of

  the very factors that used to be grounds for downward departure under the Guidelines are now

  considered by the district court—with greater latitude—under section 3553(a).” McBride, 434

  F.3d at 476 (emphasis added). In fact, the Sixth Circuit points out “that there is not complete

  agreement among the courts over whether the Guideline-based ‘departures’ truly even exist at this

  point.” Id. at 477. “The assertion that departures are obsolete has an element of truth—for there

  is now no mandatory guideline range from which to depart—and does properly shift the focus of

  our review to reasonableness.” Id. A district court in the post-Booker era is mandated by Section

  3553(a) to determining the appropriate sentence for a defendant based upon the totality of the

  circumstances surrounding the case and under the auspice of reasonableness. Included in this

  mandate is the instruction that the court “shall impose a sentence sufficient, but not greater than

  necessary, to comply with the purposes set forth” in the provision. 18 U.S.C. § 3553(a) (emphasis

  added).

      Finally, after assessing the appropriate advisory range of punishment and addressing all of the

  enunciated factors for both departure and variance, the court may examine any additional factors

  in the case at issue that may be applicable or that would make the case one “outside the heartland”

  of cases that are contemplated by the specific section of the guidelines. The Supreme Court has



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  indicated that “[i]t has been uniform and constant in the federal judicial tradition for the sentencing

  judge to consider every convicted person as an individual and every case as a unique study in the

  human failings that sometimes mitigate, sometimes magnify, the crime and the punishment to

  ensue.” Koon v. United States, 518 U.S. 81, 113 (1996).

     When examining the totality of the circumstances including both the conduct and Mrs. Myers’

  personal history, the Court has sufficient information to depart downward from the advisory

  guideline range to reach a sentence that is sufficient, but not greater than necessary to comply with

  the purposes of sentencing.

         A. Grounds for Downward Departure

         Courts have recognized that two distinct types of departures exist under the United States

  Sentencing Guidelines, those that are specifically proscribed and those that are unguided. Based

  on this recognition, courts have been granted wide discretion to examine each case and defendant

  individually and apply grounds for departure that may be applicable based on the totality and

  uniqueness of the case. See generally Koon v. United States, 518 U.S. 81, 113 (1996). When

  examining each section of the guidelines, the Commission instructs courts to “treat each guideline

  as carving out a heartland” which is a typical case that displays the type of conduct that the

  guideline describes. U.S.S.G., Chapter 1, Part A Introduction, 4(b) (Policy Statement) Departures.

  When a case arises that is outside this “heartland” or typical case that was contemplated by the

  guidelines as fashioned, a court has wide discretion to fashion an appropriate sentence through the

  use of departures. “When a court finds an atypical case, one to which a particular guideline

  linguistically applies but where conduct significantly differs from the norm, the court may consider

  whether a departure is warranted.” Id.




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         In determining if a case merits a departure, a court may utilize any factors, other than those

  specifically prohibited by the guidelines, which may alone or aggregated establish a sufficient

  basis for departure.“[T]he Commission does not intend to limit the kinds of factors, whether or not

  mentioned anywhere else in the guidelines, that could constitute grounds from departure in an

  unusual case.” Id; see United States v. Stewart, 154 F. Supp. 2d 1336, 1339–40 (E.D. Tenn. 2001).

  The United States Supreme Court and the Sixth Circuit have each approved of the evaluation of

  additional unlisted factors that may be guiding in granting departures so long as they are taken into

  account in the contemplation of the prohibitions and policy goals that are set out within the

  guidelines. See generally Koon v. United States, 518 U.S. 81, 95, 116 S.Ct. 2035, 135 L.Ed.2d 392

  (1996); United States v. Coleman, 188 F.3d 354, 361 (6th Cir.1999) (en banc).

         After determining the applicability of a departure, the Court must next address the degree

  or range that is appropriate to depart in light of the unique issues of the case. See United States v.

  Joan, 883 F.2d 491, 494 (6th Cir.1989). For example, the Sixth Circuit Court of Appeals approved

  a departure of three levels based upon a seventy-two-year-old defendant’s age, physical condition,

  lack of danger to the public, lack of flight risk, and relatively minor role in the offense. United

  States v. Sabino, 274 F.3d 1053, 1079 (6th Cir. 2001). In the instant case, the Court is faced with

  an atypical defendant that remove this case from the “heartland” of cases that are contemplated by

  U.S.S.G. § 2B1.1.

             1. Bases for Departure-Unguided

     As previously noted, the Court is also permitted to engage in an “unguided” evaluation of

  additional bases for departure that are not necessarily proscribed within the guidelines. In

  examining the instant case, the Court is presented with a somewhat unique set of facts. Mrs. Myers

  is an individual with no prior criminal history whatsoever. Moreover, when approached by law



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  enforcement she cooperated fully with their investigation without counsel, providing an account

  of her actions and permission to search her property. Mrs. Myers has been exceptionally

  cooperative and remorseful throughout this entire process. She has also continued to be

  cooperative and compliant during the pendency of the case as noted by the office of probation and

  parole including following all requests and maintaining gainful employment. Mrs. Myers also

  presents a lack of danger to the public based on the nonviolent nature of the offenses at issue.

  Additionally, Mrs. Myers presents an extremely low risk of recidivism. This event was quite

  apparently a grave deviation from an otherwise law abiding and productive life.

         Mrs. Myers has accepted responsibility and agreed to several substantial enhancements in

  reaching a plea in this case. This mother of three has accepted the fact that she will serve a term of

  imprisonment and face substantial restitution for her actions. This case, and particularly this

  defendant, are outside the heartland of cases contemplated by the guidelines and accordingly is

  ripe for a departure from the advisory guideline range.

         B. Grounds for Variance Outside Sentencing Range

         As highlighted above, the Booker court in making the Guidelines advisory in nature,

  directed the court to a series of factors and considerations that should be examined in determining

  departures, variances, and the overall reasonableness of a sentence imposed. Specifically, courts

  have been directed to 18 U.S.C. § 3553(a) which provides a list of factors that are important to that

  determination, although not exclusive. The factors set out within that section provide in pertinent

  part as follows:

          (1) the nature and circumstances of the offense and the history and characteristics
         of the defendant;
         (2) the need for the sentence imposed--
                 (A) to reflect the seriousness of the offense, to promote respect for the
                 law, and to provide just punishment for the offense;
                 (B) to afford adequate deterrence to criminal conduct;


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                 (C) to protect the public from further crimes of the defendant; and
                 (D) to provide the defendant with needed educational or vocational
                 training, medical care, or other correctional treatment in the most effective
                 manner;
         (3) the kinds of sentences available;
         (4) the kinds of sentence and the sentencing range established for--
                 (A) the applicable category of offense committed by the applicable
                 category of defendant as set forth in the guidelines; or
                 (B) in the case of a violation of probation or supervised release, the
                 applicable guidelines or policy statements issued by the Sentencing
                 Commission pursuant to section 994(a)(3) of title 28, United States Code,
                 taking into account any amendments made to such guidelines or policy
                 statements by act of Congress (regardless of whether such amendments
                 have yet to be incorporated by the Sentencing Commission into
                 amendments issued under section 994(p) of title 28);
         (5) any pertinent policy statement;
         (6) the need to avoid unwarranted sentence disparities among defendants with
         similar records who have been found guilty of similar conduct; and
         (7) the need to provide restitution to any victims of the offense.

  18 U.S.C. § 3553(a).

         Additionally, the United States Supreme Court has provided some direction on downward

  variances. In Gall v. United States, the court directed appellate courts to “take the degree of

  variance into account and consider the extent of a deviation from the Guidelines,” and “rejected

  an appellate rule that required ‘extraordinary’ circumstances to justify a sentence outside the

  Guidelines range.” 128 S.Ct. 586, 594-95 (2007). In U.S. v. Long, 37 Fed. App’x 718 (6th Cir.

  2002), the Court held that a sentencing court may depart from the applicable guideline range if the

  it finds “that there exists an aggravating or mitigating circumstance of a kind, or to a degree, not

  adequately taken into consideration by the Sentencing Commission in formulating the guidelines

  that should result in a sentence different from that described.” Id.


     In the instant case, taking each of the enunciated factors, along with others that are not

  prohibited, the Court is presented with an individual who is uniquely situated for a substantial

  downward variance from the advisory guideline range.


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     1. Nature and Circumstances of the Offense-18 U.S.C. §3553(a)(1)

     The seriousness of the offense cannot be understated. However, Mrs. Myers has been

  extremely cooperative and has accepted responsibility for her actions throughout the pendency of

  the investigation and disposition of the case. When confronted by law enforcement, she voluntarily

  spoke with agents, signed a consent to search her property, and provided documentation admitting

  to the conduct at issue. Mrs. Myers agreed to plead guilty and has completely accepted

  responsibility for her actions, including in her interview with the Office of Probation and Parole.

  See PSR page 10, paragraph 59. While the facts surrounding the offense are serious, the gravity of

  the offense conduct was sufficiently addressed in the negotiation of a plea agreement and inclusion

  of the applicable factual basis. Additionally, this was a nonviolent offense and Mrs. Myers presents

  no risk to the public as it relates to this conviction. Moreover, Mrs. Myers has done everything in

  her power to be cooperative and show that this was an aberrant event that she will never be

  involved in again along with showing that she is extremely remorseful.

     2. History and Characteristics of the Defendant-18 U.S.C. §3553(a)(1)

             a. Mrs. Myer’s personal background, history, and characteristics

     Christina Myers is a 38-year-old married woman with three daughters, all under the age of 18.

  Mrs. Myers has led a law-abiding life up until and since the instant offense further displaying the

  inexplicable nature of the conduct at issue. The character letters as set out above describe a woman

  who has always been wholly devoted to her family and to her children. Mrs. Myers was raised

  locally and possesses a bachelor’s degree. Mrs. Myers has always maintained a good record of

  employment, even following the entry of a guilty plea in this case. While she will stand a convicted

  felon following her term of imprisonment, her education will allow her to have an avenue for

  employment upon release. Moreover, as the Court is aware, this is a strong indicator of



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  rehabilitative and reintegrative success upon release. Mrs. Myers is blessed with a wonderful

  support system of family and friends who stand in support of her despite the conduct at issue in

  this case.

      3. The Need for the Sentence Imposed-18 U.S.C. §3553(a)(2)

               a. Reflect the seriousness of the offense , promote respect for the law, and provide
                  just punishment for the offense

          Mrs. Myers is facing a substantial term of imprisonment for the offenses at issue. In

  negotiating a plea agreement, Mrs. Myers agreed to numerous enhancements beyond the loss

  amount to appropriately reflect the seriousness of the offense. Respectfully, Mrs. Myers would

  argue that the advisory guideline range originally agreed upon within the plea agreement, 51-63

  months, paired with the agreed restitution amount, more than appropriately reflects the seriousness

  of the offense and establishes an appropriate advisory guideline range. Additionally, even if the

  court were to grant substantial downward variance in this matter, Mrs. Myers will be sentenced to

  a term of imprisonment paired with a substantial amount of restitution she will need to satisfy upon

  her release. These factors all appropriately outline the seriousness of the offense and provide

  punishment for the conduct. Accordingly, a sentence that substantially varies below the advisory

  guideline range, paired with court-imposed conditions and restitution, will sufficiently reflect the

  seriousness of the offense and provide just punishment.

               b. Afford adequate deterrence, protect the public, and provide training or care
                  to the defendant

      Regardless of any departures or variances that may be granted by this Honorable Court, Mrs.

  Myers, an individual with no criminal history, will likely serve a term of imprisonment in the

  custody of the Bureau of Prisons for this offense. The imposition of a term in custody alone would

  be substantial enough to provide both general and specific deterrence in this case, however other



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  alternatives that can be paired with any term imposed can also work to create a heightened deterrent

  effect.

      Moreover, Mrs. Myers will be a convicted felon and will experience all the repercussions of

  such a status for the rest of her life. The repercussions of her actions will have a lasting effect on

  every aspect of her life, providing a substantial and continuing specific deterrence to criminal

  activity. Among those consequences is a loss to her family. Mrs. Myers will miss years with her

  children. She will likely miss many of the most significant adolescent events of each of her

  daughters, including at least one high school graduation. These are all punishments that she will

  face in addition to a term of imprisonment, a term of supervised release, and a substantial amount

  of restitution in this case. Each of these aspects, while they cannot be considered alone, are critical

  in assessing the deterrent effect on future conduct of Mrs. Myers and others. Accordingly, this

  punishment is more than sufficient to not only provide punishment and work to protect the public

  in the future, but also to provide general and specific deterrence.

      4. Avoid Unnecessary Sentencing Disparities-18 U.S.C. §3553(a)(6)

      The Court here is presented with a white-collar offense, involving fraud as recognized by the

  factual basis for the plea agreement. Significantly, the Sixth Circuit Court of Appeals addressed

  sentencing in white collar cases in some depth in United States v. Musgrave in 2016. United States

  v. Musgrave, 647 Fed. Appx. 529 (6th Cir. 2016). Mr. Musgrave was convicted following a jury

  trial of four counts including wire and bank fraud, establishing an advisory guideline range of 57-

  71 months imprisonment. Musgrave at 532. The sentencing court’s original sentence was vacated

  and remanded and upon resentencing, the court imposed a sentence of one day imprisonment, five

  years of supervised release with 24 months of home confinement, and a $250,000 fine. Id. at 533.




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  On appeal, the Sixth Circuit upheld this sentence as substantively reasonable and an appropriate

  downward variance from the advisory guideline range.

     In assessing the district court’s consideration of 18 USC §3553(a)(6) and various sentencing

  statistics, the Sixth Circuit Court of Appeals noted as follows:

         Based on the district court's review of statistics and other cases, of all white-collar
         defendants in our circuit, nearly 30% receive no prison time, and approximately
         one-third of that 30% receive some form of home confinement instead.

         Id. at 538.

  The Sixth Circuit also noted “[t]here is reason to believe that, because the loss Guidelines

  were not developed using an empirical approach based on data about past sentencing

  practices, it is particularly appropriate for variances.” Id. citing United States v. Corsey,

  723 F.3d 366, 379 (2d Cir.2013) (internal citations omitted).


         While the specific facts and sentence imposed in Musgrave were clearly an outlier, the

  logic and analysis used in affirming the sentence are critical to review here. The Sixth Circuit noted

  that it is not only common practice of courts in our circuit to vary substantially below the advisory

  range in non-violent white-collar cases, but also that it may be encouraged considering the lack of

  empirical support for the loss guidelines. In examining the instant case, it is worth considering that

  nearly one third of white-collar defendants in the Sixth Circuit received no prison time whatsoever,

  some of which affected far greater loss amounts than Mrs. Myers. Moreover, various courts within

  our circuit have not hesitated to formulate a sentence that utilizes a combination of imprisonment,

  home confinement, community service, and substantial restitution to affect the goals of 18 U.S.C.

  §3553. As noted by the Sixth Circuit, the district court’s reasoning in Musgrave which determined

  that the 18 U.S.C. §3553 factors, paired with the need to provide restitution to the victims made




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  the sentence imposed reasonable. Applied here, numerous factors would support a substantial

  downward variance from the advisory guideline range.

     5. Provide Necessary Restitution-18 U.S.C. §3553(a)(7)

     Mrs. Myers has already agreed to the restitution amount owed to the victims in this case

  pursuant to her plea agreement. Significantly, Mrs. Myers will not be able to contribute to

  restitution while she is incarcerated. Courts have noted that the consideration of providing

  restitution to victims is one that, when taken in consideration with all the other factors set out in

  18 U.S.C. §3553, can be relevant in granting a variance. For example, in United States v.

  Musgrave, the Sixth Circuit Court of Appeals upheld a substantial downward variance, noting that

  “the goal of obtaining restitution for the victims is best served by a non-incarcerated and employed

  defendant” and that “the Court can be responsive to the victim's need to be made whole, while also

  imposing a sentence that is sufficient but not greater than necessary to satisfy all other purposes of

  sentencing”. United States v. Musgrave, 647 Fed. Appx. 529, 536 (6th Cir. 2016)(internal citations

  omitted).

     Mrs. Myers would ask this Honorable Court to consider this factor, along with all the other

  factors set out within 18 U.S.C. §3553 in granting a downward variance in the instant case.


                                                VI. CONCLUSION

         WHEREFORE, the Accused, Christina Erin Myers, respectfully moves this Honorable Court to

  grant a substantial variance in order to impose a sentence sufficient but not greater than necessary in the

  instant case.




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         RESPECTFULLY SUBMITTED this 20 October 2020.




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                                       CERTIFICATE OF SERVICE

          It is hereby certified that a true and correct copy of the foregoing pleading was filed
  electronically. Notice of this filing be forwarded via the Court’s electronic filing system to all parties on
  the electronic filing receipt and/or by hand-delivery or by placing a true and correct copy of the same in
  the United States Mail with sufficient postage to carry the same to its destination.

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